        Case 1:18-cr-00218-RMB             Document 108         Filed 09/01/23   Page 1 of 1




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                       X
 UNITED STATES OF AMERICA,

                                 Government,
                                                                       18 CR. 218 (RMB)
         -against-
                                                                          ORDER
 TYLER TORO,



                                 Defendant.
                                                        X

        At the supervised release hearing held on August 30, 2023, the parties and the Court

determined that Tyler Toro should be granted “early termination” of supervision. (See

Transcript of Proceedings held on August 30, 2023 for details.; see also 18 U.S.C. § 3583(e)(1)

(“The court may…terminate a term of supervised release … if it is satisfied that such action is

warranted by the conduct of the defendant released and the interest of justice.”) Mr. Toro’s

conduct during supervision has included strengthened family and community ties, stable

employment, and overall good citizenship, taking full advantage of supervision services, such

that it is in the public interest to end further supervision.

        It is hereby ordered that Tyler Toro’s supervised release be terminated effective August

30, 2023. Best of luck!

 Dated: August 30, 2023
        New York, NY



                                                                  __________________________
                                                                      RICHARD M. BERMAN
                                                                            U.S.D.J.
